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		OSCN Found Document:IN RE ESTABLISHMENT OF RULE 1.19 OF OKLAHOMA SUPREME COURT RULES

					

				
  



				
					
					
						
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				IN RE ESTABLISHMENT OF RULE 1.19 OF OKLAHOMA SUPREME COURT RULES2019 OK 51Decided: 06/24/2019THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2019 OK 51, __ P.3d __

				


IN RE: Establishment of Rule 1.19 of the Oklahoma Supreme Court Rules - Use of Credit Cards, Debit Cards and Other Forms of Electronic Payment
ORDER ESTABLISHING NEW OKLAHOMA SUPREME COURT RULE 1.19CONCERNING USE OF CREDIT CARDS, DEBIT CARDS AND OTHER FORMSOF ELECTRONIC PAYMENT AND ADOPTION OF FORM NO. 4A, RULE 1.301 OF THE OKLAHOMA SUPREME COURT RULES
The following new Rule 1.19 of the Oklahoma Supreme Court concerning use of credit cards, debit cards and other forms of electronic payment, is hereby adopted and codified at Part I of the Oklahoma Supreme Court Rules, Okla. Stat. tit. 12, ch. 15, app. 1, and is attached as Exhibit "A" to this order.
The following new Form No. 4A, Rule 1.301, an affidavit of intent to remit cost deposit via credit card or debit card or other forms of electronic payment, is hereby adopted and codified at Part X, Oklahoma Supreme Court Rules, Okla. Stat. tit. 12, ch. 15, app. 1, and is attached as Exhibit "B" to this order.
Rule 1.19 is immediately effective and shall apply to all pending cases before this Court or the Court of Civil Appeals.
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 24th day of June, 2019.

/S/CHIEF JUSTICE

Gurich, C.J., Darby, V.C.J., Winchester, Edmondson, Colbert and Combs, JJ., concur;
Kauger, J., concurs in part and dissents in part.



EXHIBIT A
Oklahoma Statutes Citationized Title 12. Civil Procedure Appendix 1 - Oklahoma Supreme Court RulesArticle Part I. Rules of General ApplicationSection RULE 1.19  USE OF CREDIT CARDS, DEBIT CARDS AND OTHER ELECTRONIC PAYMENTSCite as: O.S. §, __ __


A. Payment for any fee, fine, forfeiture, cost, penalty assessment or other charge or collection to be assessed or collected by the Clerk of the Supreme Court under the laws of this state, may be made by a personal or business check, U.S. currency or a nationally recognized credit or debit card or other electronic payment method meeting the criteria authorized by the Administrative Office of the Courts and the criteria below. 
1. The Clerk of the Supreme Court accepts the following nationally recognized credit cards: Visa, MasterCard, Discover and American Express. Debit cards will be processed as a credit card without the use of a PIN number. The Clerk of the Supreme Court shall not collect a fee for the acceptance of the nationally recognized credit or debit card.
2. The term "nationally recognized credit card" means any instrument or device, whether known as a credit card, credit plate, charge plate, or by any other name, issued with or without fee by an issuer for the use of the cardholder in obtaining goods, services, or anything else of value. The term "debit card" means an identification card or device issued to a person by a business organization which permits such person to obtain access to or activate a consumer banking electronic facility. 
B. If payment is made in person, payment in the form of a nationally recognized credit or debit card or other electronic payment method must be tendered and accepted concurrently with the initial pleadings by a person authorized to tender said form of payment in person at the office of the Clerk of the Supreme Court, pursuant to Rule 1.23(b). In the event of a power outage, processing failure, equipment failure or other unforeseen circumstance which prevents the immediate processing of the remittance, the filer may file an affidavit as set forth in subparagraph C. 
C. In the event the initial pleadings are being sent to the Clerk of the Supreme Court pursuant to Rule 1.4(c) for filing by any method other than appearing in person at the office of the Clerk of the Supreme Court, the filer shall include an affidavit of intent to remit cost deposit via credit or debit card or other form of electronic payment which shall be filed concurrently with the initial pleadings. 
1. The affidavit of intent to remit cost deposit with a credit or debit card or other electronic payment shall be in substantial compliance with the form prescribed by Rule 1.301 Form No. 4A. The filer shall provide the requested contact information but shall not include the actual card numbers or other sensitive information. A photocopy of the credit or debit card shall not be sent with the pleadings. 
2. It shall be the responsibility of the filer to ensure the Clerk of the Supreme Court has received and successfully processed the cost deposit and any failure to do so is the sole responsibility of the filer. The Clerk of the Supreme Court may extend the time for payment by two business days in order to complete payment, in the event of a power outage, processing failure, equipment failure or other unforeseen circumstance which prevents the immediate processing of the remittance.
D. It is anticipated that initial pleadings may be filed on the due date. As long as payment or the Form 4A affidavit is received on or before the due date, the initial pleadings will be considered timely filed. In any instance in which a filer submits an affidavit of intent to remit cost deposit with a nationally recognized credit or debit card or other electronic payment, the initial pleading will be filed as if a cost deposit was actually provided. Submission of the affidavit alone without subsequent communication with the Clerk of the Supreme Court to provide any and all information necessary to process the cost deposit, or failure to provide an alternate form of payment in the event of a declination of the cost deposit, may result in dismissal of the initial pleadings.



EXHIBIT B
Form No. 4A. Affidavit of intent to remit cost deposit via credit or debit card or other form of electronic payment
AFFIDAVIT OF INTENT TO REMIT COST DEPOSIT VIA CREDITCARD OR DEBIT CARD OR OTHER FORM OF ELECTRONIC PAYMENT
STATE OF OKLAHOMA
In the Supreme Court of Oklahoma:
I, ____________________________________, depose and say that I am the _____________________, in the above-entitled case. I further state that it is my intent to remit the cost deposit for this cause of action via credit card, debit card or other form of electronic payment, and that I am authorized to utilize the provided method of payment.
I understand that it is my responsibility to remit the cost deposit and to ensure that the Clerk of the Supreme Court has received and successfully processed the cost deposit not later than two business days after the date of filing this Form 4A. I accept full responsibility to provide the Clerk of the Supreme Court with any and all information needed for the processing of my remittance. I further understand that if I fail to timely and successfully remit the cost deposit for this cause of action in the form and manner prescribed by the Rules of the Supreme Court, my cause of action may be dismissed for failure to remit the cost deposit as required by Oklahoma law.
I further understand that I should not provide, on this Form 4A, the actual credit or debit card numbers or any other sensitive information for the processing of this cost deposit. I understand that the Clerk of the Supreme Court will not retain any of this information for any use other than the processing of this cost deposit after I have communicated with the Clerk and provided it.
I state under penalty of perjury under the laws of Oklahoma that the foregoing is true and correct.




__________________________Date

_________________________________________Affiant
Contact Information:
Name (Printed):____________________________________________________________
Address: _________________________________________________________________
_________________________________________________________________________
Phone Number: ___________________________________________________________ 
E-mail address: ____________________________________________________________
&nbsp;
DO NOT PUT THE ACTUAL CREDIT OR DEBIT CARD NUMBERS ON THIS FORM, AND DO NOT SEND A PHOTOCOPY OF THE CREDIT OR DEBIT CARD
&nbsp;




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